
PER CURIAM.
Defendant, Terrance Marks, Jr., was convicted of aggravated rape and the death sentence imposed was affirmed by this Court. 252 La. 277, 211 So.2d 261 (1968).
Citing Stewart v. Massachusetts, 408 U. S. 845, 92 S.Ct. 2845, 33 L.Ed.2d 744 (1972), following Furman v. Georgia, 408 U.S. 238, 92 S.Ct. 2726, 33 L.Ed.2d 346 (1972), the United States Supreme Court vacated the judgment herein insofar as it left undisturbed the death penalty imposed and remanded this case to this Court for further proceedings. 408 U.S. 933, 92 S.Ct. 2849, 33 L.Ed.2d 746 (1972).
We construe the Mandate of the United States Supreme Court to require the imposition of a sentence other than death. Cf., State v. Shaffer, 260 La. 605, 257 So.2d 121 (1971) and State v. Duplessis, 260 La. 644, 257 So.2d 135 (1971).
*358Accordingly, in compliance with the Mandate of the United States Supreme Court, the death sentence imposed upon defendant is annulled and set aside, and the case is remanded to the 14th Judicial District Court with instructions to the trial judge to sentence the defendant to life imprisonment.
Case remanded.
